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                                                                                             Mar 16, 2021


                               UNITED STATES DISTRICT C O URT
                               SO UTH ERN DISTRICT O F FLO RIDA
                      21-20160-CR-UNGARO/REID
                         CASE NO .
                                         18 U.S.C.j 1343
                                         18U.S.C.j981(a)(1)(C)
     UNITED STATES OF AM ERICA



     LEONEL RIVERO,

                    Defendant.
                                          /

                                           INFO RM ATIO N

           The United StatesAttom ey chargesthat:

                                    G ENERAL ALLEGATIO NS

           Ata1ltim esrelevantto thislnformation'
                                                .

                   Defendant LEO NEL RIVERO was a resident of M iam i-Dade County,Florida.

     RIVERO w'
             asthe principaland registered agentofRivero Tax Group Inc-,a Florida corporation

     registered on oraboutM ay 2s20l6. Rivero Tax Group wasa tax preparation business.

                   TheCoronavirusAid,Relief,and EconomicSecuritj,(CARES)Actwasafederal
     Iaw enacted in M arch 2020.to provide tsnancialassistance to Am ericanssuffering econom icharm

     from the COV ID-l9 pandem ic. One source ofrelief provided through the CARES Actwasthe

     atlthorizationofforgivableloanstobusinessesforjobrctentionandcertainotherexpenses,through
     aprogram calledthePaycheckProtection Program (PPP).
                   Among the types of businesses eligible for a PPP loan B'ere individuals who
     operatedunderaé-soleproprietorship'-businessstructure.Such individualswereeligibleto receive
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     a m axim um PPP loan of up to $20,833 to cover lost compensation or income from the sole

     proprietorship.
            4.      ln orderto be eligible to receive such a PPP loan,individtlals had to reportand

     docum enttheir income and expenses from the sole proprietorship,as typically reported to the

     InternalRevenueSen'ice(IRS)on Form l040,ScheduleC,foragiventaxyear.
                    The CARES Actrequired PPP loan applicationsto be processed by a participating

      lender. lfa PPP loan application wasapproved,theparticipating Ienderwould fund the PPP loan

     using itsownmonics,whichwereguaranteedbytheSmallBusinessAdm inistration(SBA).Data
     from the application,including information aboutthe bonower,the totalam ountofthe Ioan,and

     the listcd number of employees, were transmitted by the lender to the SBA in the çourse of

     processing the loan.
                    SBA Loan Processor Iwas a Gnancial-technology com pany based in California.

      SBA Loan Processorlparticipated in thePPP by,am ong otherthings,acting asaserviceprovider

      forsm allbusinessesand certain Ienders. Smallbusinessesseeking a PPP loan couldapply through

      SBA Loan Processor 1,w hich would rcview the PPP loan applications. Ifa PPP loan application

      received was approved forfunding-a partnerfinancialinstitution disbursed the loan funds to the

      applicant. Underthe PPP,the SBA agreed to guarantee Ioans provided by participant lenders

      undercertain conditions.

             7.     W ellsFargoBank,N.A.(W ellsFargo)wasafederally insured financialinstitution

      based in South Dakota.
             8.     Rivero Tax Group Inc.m aintained bank accountsatW ellsFargo in M iam i,Florida.
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                                              W ireFraud
                                           (18U.S.C.j1343)
            Froln in oraround M ay 2020,through in oraround June 2020,in M iam i-Dade County.in

     the Southern D istrictofFlorida,and elsew here,the defendant,

                                         LEO NEL RIVERO ,

     did know ingly,and w ith intentto defraud,devise and intend to devise a schem e and artifice to

     defraud and to obtain m oney and property by m eansofmaterially false and fraudulentpretenses,

     representations,and prom ises,knowing thatthe pretenses,representations,and prom ises were

     false and fraudulentwhen made,and forthe purpose ofexecuting such schem e and artitsce to

     defraudsdid k'nowingly transm itand cause to betransm itted by meansofw irecomm unicationsin

     interstate and foreign comlnerce,certain writings,signs,signals,pictures,and sounds.

                           PURPO SE O F TH E SCH EM E AND ARTIFICE

            ltwas the purpose ofthe scheme and artifice for the defendantand his accom plices to

     un-i
        ustlyenrichthemselvesbysubmitting falseand fraudulentPPP Ioanapplicationsto SBA       Loan
     Processor l- which contained false incom e and expense inform ation- and then use the

     subsequentloan proceedsfortheirown personalbenefit.

                   M ANNER AND M EANS O F TH E SCHEM E AND ARTIFIC E

            The m anner and means by which tbe defendant, LEO NEL RIVERO. sought to

     accom plish tlzescheme and artillce to defraud included,am ong others,the following:

            9.     LEO NEL R IVERO subm itted to SBA Loan Processor1 approximately ll8 PPP

     Ioan applications on behalf of him self and his accom plices. Com bined, the ll8 PPP Ioan

     applicationssoughtapproxim ately $2,334,064 in PPP loan funds.
            l0.    On each PPP loan applications LEONEL RIV ERO falsely stated the named
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     applicant'sprior-yearincom eand expenses. In support,RIVERO repeatedly subm itted false and

     fraudulent IRS form s, which pum orted to docum ent incom e and expenses from the nam ed

     applicant-ssole proprietorship.

            lI.    LEO NEL RIVERO and hisaccomplieesreccived approximately $975,582 in PPP

     Ioan fundsasa resultofthe false and fraudulentPPP Ioan applicationsRIV ERO subm itted.

                                         USE O F TH E W IRES

            OnoraboutM ay 15,2020,thedefendant,forthepurposeofexecuting the aforesaid schem e

     and artifice to defraud and to obtain m oney and property by m eans of m aterially false and

     fraudulentpretenses,representations,and prom ises,km owing thatthe pretenses,representations,

     and promises were false and fraudulent when m ade,did knowingly transm it and cause to be

     translnitted by m eansofwirecom m unicationsin interstateand foreigncom merce,certain writings,

     signs,signals.picturesand sounds,thatis,an electronic application from South Florida,to SBA

     Loan Processor 1,in California,fora PPP loan in the nam e ofLEO NEL RIVERO ,in violation

     ofTitle 18,United States Code,Sections I343 and 2.

                                            FORFEITURE
                                       (I8 U.S.C.j981(a)(1)(C))
                   TheallegationsofthisInform ation arehereby re-alleged and by thisreferencefully

     incorporated herein forthe purpose ofalleging forfeiture to the United States ofcertain property

     in which thedefendant.LEO NEL RIVERO ,hasan interest.

                   Upon conviction ofa violation ofTitle 18,United States Code,Section l343.as

     alleged in thisInformation,the defendantshallforfeitto the United States any property,realor

     personal,which constittltesorisderived from proceedstraceableto such offense,pursuantto Title

     18,United StatesCode,Section981(a)(1)(C).
                                                    4
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                     Thepropertysubjecttoforfeitureasaresultoftheallegedoffenseincludes.bntis
     notlim ited to,the following:a sum of$975,582.00 in U .S.currency,which sum represents the

     value ofthe property subjectto forfeiture and Nvhich may be soughtasa forfeiture money
     '
     Judglnent,
              'and

                     Ifanyofthepropertysubjecttoforfeiture.asaresultofanyactoromissionofthe
     defendant:

                        a. cannotbe located upon theexercise ofdue diligence;

                        b. hasbeen transferred orsold to,ordeposited w ith,a third party:

                        c. hasbeenplacedbeyondthejurisdictionofthecourt;
                        d. hasbeen substantially dim inished in value;or

                        e. hasbeen com m ingled with otherproperty which cannotbe divided w ithout

                           difficultyv

     the United Statesshallbe entitled to f-orfeiture ofsubstituteproperty underthe provisionsofTitle

     2l,United StatesCode,Section 853(p).which substituteproperty includesbutisnotIimitedto,
     the following:

                a. $197,611.0I form erly on deposit in accountnulnber6079717002 atNvells Fargo

                     Bank,N .A.,held inthe nam e ofRivero Tax Group.lnc.;and

                b. approxim ately $773,600.00 in U .S.currency seized from the defendant'sresidence

                     on oraboutSeptember28,2020.
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            A1lptlrstlantto Title18,UnitedStatesCode,Section98l(a)(l)(C),andtheproceduresset
     forth atl'itle 2l,United StatesCode.Section 853 asincorporated b),Title 28,United StatesCode,

     Section2461(c).


                                                     WV
                                                     *    .       z'     *   J
                                                                             rL #
                                                                             w
                                                                                o
                                               ARIAN A FAJARDO O RSHAN
                                               UNI'I'ED STATES ATTORNEY




                                                        HER B.BROW NE
                                               ASSISTAN T tJNITED STATES ATTO RN EY




                                             rDAN IEL KA HN
                                              ACTIN G CHIEF,FRAUD SECTION
                                              U.S.DEPA RTM ENT OF JUSTICE




                                              bELLA SENTILLES
                                              TRIAI-AR-FO RNEY,IJRAUD SECTION
                                              U.S.DEPARTM EN T O F JUSTICE




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                                                 UNITED STATES DISTRICT CO URT
                                             SOUTHERN DISTRICT OF FLORIDA

 UNITEB STATESOF AM ERICA
  V.
 LEONEL RIS'ERO,                                             CERTIFICATE OF TRIAL ATTO RNEY-
                                                            Superseding CaseInformation:
                              Defendant-         /
 CourtDivijion:(seleclœ el                                  New defendantts)           Yes       No
  @'    M lami              Key Nvest                       Num berofnew defendants
        FTL                 W PB           FTP              Totalnumberofcounts

                 Ihave carefully considered theallegationsof1he indictment,thentlmberofdefendants, the numberof
                 probable witnessesandthe IegalcomplexitiesoftheIndictment/lnformationattachedhereto.
        2.       Iam aware thalthe information supplied on this statementwillbe relied upon by the Judgesofthis
                 Courtin setting theircalendarsand scheduling criminaltrials underthe mandate ofthe Speedy Trial
                 Act,Title28U.S.C.Section 3l6l.
                 lnterpreter:      (YesorN0)          No
                 LislIanguageand/ordialect
        4.       Thiscasewilltake 0 daysfor1hepartiestotry.
        5.       Pleasecheckappropriatecategory andtypeofoffense listed below:
                 (Cbeckonll'orel                                   4Checkonlyone)

        I        0 to 5 days                      7                Petty
        11       6 to 10 days                                      M inor
        Ill      11to 20 days                                      slisdem.
        IV       2lto 60 days                                      Felony              ë'
        V        6ldaysand over
        6.       Hasthiscasepreviouslybeen15ledinthisDistriclCourt?                  (YesorNo)   No
         lfyes:Judge                                        CaseN o.
         (Attachcopyofdispositiveorder)
         Hasacomplaintbeenfiled in thismatter?              (YesorNO)           XO
         Ifyes:M agistrateCaseNo.
         Related miscellaneousnumbers:
         Defendantls)infederalcustodyasof
         Defendantts)instatecustodyasof
         Rule20 from theDistrictof
         lsthisapotentialdeathpenaltycase?(YesorNo)                    NQ   -



                 Doesthiscaseoriginatefrom amatterpending intlleCentralRegion oftheU.S.Attorney'sOffice
                 priortoAugust9,2013(Mag.JudgeAlicia0.Valle)?                        Yes         No *
        8.       Doesthiscaseoriginale from amatterpending intheNorthernRegionoftheU.S.Attorney'sOfl
                                                                                                   ice
                 priorto August8,2014 (M ag.JudgeShaniek M aynard)?      Yes          No z

                 Doesthiscaseoriginalefrom amatterpending in the CentralRegion ofthe U.S.Attolrey'sOft-ice
                 priorto October3,2019(M ag.JudgeJared Stratlss)?               .A
                                                                                 '   Yes         No--'-'-e -e
                                                                                b
                                                                   CIIRISTO PHER B.BROW NE
                                                                   ASSISTAN T UN ITED STA TES ATTO RN EY
  *penalty Sheetts)attached                                        FL BarNo.91337
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                              UNITED STATES DISTRICT CO URT
                              SO UTHERN DISTRICT O F FLO RIDA

                                        PENALTY SHEET

     Defendant'sNam e:LEONEL RIVERO                         -   -   -




     Count#:1



     Title l8,United StatesCodeeSection l343

     *M ax.Penalty:             'I'
                                  wenty(20)years'imprisonment



      *lkefersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
               specialassessm ents,parole term s,orforfeitures thatm ay be applicable.
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 AO 455(Res.0l,'t)9)h'aiverofa11lndictment

                                     UNITED STATES D ISTRICT C OURT
                                                          forthe
                                                Southern DistrictofFlorida

                 United StatesofA m erica                   )
                               %/.                          )     CaseN o.
                       Leonel Rivero,                       )
                                                            )
                           Dqkndanl                         )

                                             W A IV ER O F AN IND ICTM ENT

       Iunderstand thatIhavebeen accusedofoneormoreoffensespunishable by imprisonmentformorethanone
year. Iwasadvised inopencourtofln).rightsand thenatureoftheproposed chargesagainstme.

       Aflerreceiving thisadvice,lwaivemy rightto prosectltionby indictmentand consentto prosecution by
information.




                                                                                    MichaelMirer,Esq.
                                                                             Pribtted?)tl
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                                                                                          t?(?ftfi!/i??;Ja?;l%altorllei'
